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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


PATTY DURAND, et al.,

           Plaintiffs,
                                          CIVIL ACTION
                    v.
 BRAD RAFFENSPERGER, in his               No. 1:22-CV-1784-WMR
 official capacity as Georgia
 Secretary of State,

           Defendant.


           ORDER DENYING PLAINTIFFS’ MOTION
          FOR A TEMPORARY RESTRAINING ORDER

I.   INTRODUCTION

     Before the Court is Plaintiffs’ Motion for a Temporary Restraining

Order (Doc. 2) filed by Patty Durand, who is currently a candidate on the

ballot for the Democratic party nomination for Public Service

Commissioner for District 2, and by three of her supporters, namely

Elizabeth Pinder, Brian Carney, and Elizabeth Rodenroth (who, with

Durand, are collectively referred to as “Plaintiffs”). In their Complaint

and Motion, Plaintiffs contend that the 12-month residency requirement
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for   members    of   the   Public   Service   Commission     (“PSC”)    is

unconstitutional as applied to Durand and that “the Georgia General

Assembly redrew district lines on the eve of the qualifying period to

exclude Durand specifically.” (Doc. 1, Compl., ¶ 1; Doc. 2, Motion, p. 1.)

In their Motion, Plaintiffs seek a temporary restraining order prohibiting

Defendant Georgia Secretary of State Brad Raffensperger (the

“Secretary”) from disqualifying Durand as a candidate for PSC District 2

based on the 12-month residency requirement set forth in O.C.G.A. § 46-

2-1(b).

      O.C.G.A. § 21-2-5 (the “Challenge Statute”) permits the Secretary

to challenge the qualifications of a candidate at any time prior to an

election.1 Pursuant to the Challenge Statute, an administrative law

judge (“ALJ”) from Georgia’s Office of State Administrative Hearings

(“OSAH”) recommends factual and legal findings, which are then

submitted to the Secretary for review and a final ruling. Under the

provisions of the Challenge Statute, the Secretary’s decision is subject to



1The Challenge Statute is referring to the General Election, not the
General Primary.
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judicial review and can be appealed to the Superior Court of Fulton

County, Georgia, as well as to the Supreme Court of Georgia. O.C.G.A. §

21-2-5(e); see Burgess v. Liberty Cnt’y Bd. of Elections, 291 Ga. 802, 803

(2012) (candidacy challenge regarding allegations that the candidate did

not meet residency requirement was an election contest that fell within

the exclusive appellate jurisdiction of the Supreme Court of Georgia).

       The Secretary received a complaint from a voter on April 27, 2022,

alleging that Durand did not meet the requirement of being a resident of

PSC District 2 for 12 months prior to the November 2022 election as

required by law. (Doc. 11, Defendant’s Ex. 1, p. 10.) On April 28, 2022,

the Secretary submitted to OSAH a challenge to the qualifications of

Durand as a candidate for the general primary for PSC District 2. (Id.,

p. 6.) On May 5, 2022, Plaintiffs initiated this action and filed their

Motion for a Temporary Restraining Order. This Court conducted an

expedited hearing on May 10, 2022.2




2   This hearing was argument only; no testimony was received.
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      For the reasons that the Court articulates in this order, Plaintiffs’

motion for a temporary restraining order is denied.



II.   BACKGROUND AND FINDINGS OF FACT

      The PSC is a five-member body created pursuant to the State

Constitution of Georgia for the regulation of utilities. GA. CONST. art. IV,

§ 1, ¶ I. PSC members serve a term of six years. Id.; O.C.G.A. § 46-2-

1(a). They are elected in statewide elections, which are staggered every

two years. O.C.G.A. § 46-2-1(d). To be elected as a member of the PSC

from a particular PSC District, a person must have resided in that

district for at least 12 months prior to election. O.C.G.A. § 46-2-1 (a), (b).

      Following the 2000 decennial census, the Georgia General

Assembly amended O.C.G.A. § 46-2-1 to change the boundaries of the

PSC districts, effective April 2002. 2002 Ga. Laws 360; see also Cox v.

Barber, 275 Ga. 415, 416 (2002). Ten years later, following the next

census, the PSC districts were revised again, effective May 1, 2012. 2012

Ga. Laws Act 641 (S.B. 382). Following the effective date of the 2012

amendment, PSC District 2 consisted of 29 counties, including Gwinnett


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County.3 Id.

     In the Complaint, which is verified under penalty of perjury by

Durand, Plaintiffs state that “Durand moved to Gwinnett County, which

was [PSC] District 2, in June 2021.” (Doc. 1, Compl., ¶ 20.) Prior to her

move to Gwinnett County, Durand was a registered voter in Fulton

County and voted in numerous elections in Fulton County, most recently

by absentee ballot in December 2020. (Doc. 11-1, Defendant’s Ex. 1, p.

19.) As part of the 2022 reapportionment process, the Georgia General

Assembly reapportioned the five PSC districts as described in O.C.G.A. §

46-2-1, ostensibly to account for population changes throughout Georgia.




3 Specifically, PSC District 2 had the following counties within its
jurisdiction following the effective date of the 2012 amendment: (1)
Baldwin County; (2) Barrow County; (3) Bibb County; (4) Bleckley
County; (5) Burke County; (6) Clarke County; (7) Emanuel County; (8)
Glascock County; (9) Greene County; (10) Gwinnett County; (11) Hancock
County; (12) Houston County; (13) Jackson County; (14) Jasper County;
(15) Jefferson County; (16) Jenkins County; (17) Johnson County; (18)
Jones County; (19) Laurens County; (20) Morgan County; (21) Newton
County; (22) Oconee County; (23) Putnam County; (24) Screven County;
(25) Treutlen County; (26) Twiggs County; (27) Walton County; (28)
Washington County; and (29) Wilkinson County.
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(Doc. 11-5, Defendant’s Ex. 5, Dec. of Gina Wright, ¶6.)4 As reflected in

the declaration of Gina Wright, Executive Director of the Legislative and

Congressional Reapportionment Office, the reapportionment of the PSC

districts was primarily driven by significant changes in population,

particularly in the metro Atlanta region. Gwinnett County saw the most

significant population growth in Georgia. Gwinnett County was moved

from District 2 to District 4.5 Without reapportionment, the population

deviation using the 2012 district map would have been 9.94% or over



4 The Court notes that the Plaintiffs claim, and for the purposes of this
Order the Court assumes, that the General Assembly’s motivation in the
redrawing the PSC districts was primarily partisan.

5  Pursuant to the SB 472 amendment to O.C.G.A. § 46-2-1 effective
March 4, 2022, PSC District 2 now consists of the following counties: (1)
Banks County; (2) Barrow County; (3) Bulloch County; (4) Burke County;
(5) Butts County; (6) Candler County; (7) Chatham County; (8) Clarke
County; (9) Columbia County; (10) Effingham County; (11) Elbert
County; (12) Emanuel County; (13) Glascock County; (14) Greene
County; (15) Hancock County; (16) Hart County; (17) Henry County; (18)
Jackson County; (19) Jasper County; (20) Jefferson County; (21) Jenkins
County; (22) Lincoln County; (23) Madison County; (24) McDuffie
County; (25) Morgan County; (26) Newton County; (27) Oconee County;
(28) Oglethorpe County; (29) Putnam County; (30) Richmond County;
(31) Rockdale County; (32) Screven County; (33) Spalding County; (34)
Taliaferro County; (35) Walton County; (36) Warren County; (37)
Washington County; and (38) Wilkes County.
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212,000 people; whereas after reapportionment it was reduced to a

population deviation of 1.55% and 33,247 people under the 2022 map.

(Id., ¶¶ 8, 9.) The PSC redistricting legislation was filed as Senate Bill

472 in the Senate hopper on February 7, 2022, passed the Senate on

February 24, 2022, passed the House of Representatives on March 4,

2022, and was signed into law by Governor Kemp that same day. (Doc.

11-3, Defendant’s Ex. 3.)

     On February 17, 2022 – prior to the Senate’s passage of SB 472 –

Durand posted on Twitter that Republicans had deliberately removed

Gwinnett County (her then county of residence)6 from PSC District 2 to

protect incumbent PSC District 2 Commissioner Tim Echols by moving

her residence out of the district. (Doc. 11-1, Defendant’s Ex. 1, p. 8

(Durand’s tweet with infographic).) Durand states in her Verified

Complaint that she “established residency in Rockdale, County, Georgia,

on or about March 6, 2022,” because “Rockdale [County] is in the new

District 2.” (Doc. 1, Compl., ¶42.) Durand then filed paperwork to qualify


6 The facts are undisputed that Durand had not lived in Gwinnett County
very long, as she moved there only in June 2021 for the purposes of
running for the PSC.
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as a candidate for party nomination for Public Service Commissioner in

District 2 on March 10, 2022. (Id., ¶43.)

     Notably, in her Declaration of Candidacy and Affidavit, Durand

made the sworn statement that, as of the date of the general election on

November 8, 2022, she will have been a legal resident of District 2 for one

consecutive year. (Doc. 11-1, Defendant’s Ex. 1, p. 14.) Of course, this

wasn’t true, at least as to the 2 days between when the Governor signed

Senate Bill 472 and when Durand moved to Rockdale County.

Nevertheless, as of the date of this Order, Durand is currently on the

Democratic General Primary Election ballot for the statewide primary

election to be held on May 24, 2022, along with one other Democratic

candidate. (Doc. 11-4, Defendant’s Ex. 4.) April 25, 2022, was the earliest

date for a Georgia county registrar to mail absentee ballots for the

General Primary on May 24, 2022, and advanced, in-person voting began

on May 2, 2022.7


7The Office of the Secretary of State’s Elections Division provides a
Scheduled Elections Calendar of Events for 2022, which is available
online at
https://www.sos.ga.gov/sites/default/files/forms/2022%20State%20Sched
uled%20Elections%20Short%20Calendar.pdf
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     The Secretary’s Office received a written complaint from a voter in

a letter dated April 27, 2022, requesting that the Secretary challenge the

candidacy qualifications of Durand under the Challenge Statute because

Durand will not be a resident of PSC District 2 for one year prior to the

November 2022 election. (Doc. 11-1, Defendant’s Ex. 1, p. 10.)         The

complaint from the voter referenced social media posts by Durand in

which she acknowledged that she lived outside the current make-up of

PSC District 2. (Id.)   On April 28, 2022, the Secretary initiated a

proceeding before OSAH to challenge Durand’s residency qualification

and requested an expedited hearing of the matter. (Id., p. 6.) As of the

date of this Order, the Secretary’s challenge of Durand’s candidacy

qualifications before OSAH is set for a hearing on May 12, 2022. (Doc.

11-2, Defendant’s Ex. 2.)

     On May 5, 2022, Durand and three of her supporters filed this

lawsuit. (Doc. 1.) In the Complaint, Plaintiffs seek relief for two claims

under 42 U.S.C. § 1983, based on their assertions that Georgia’s one-year

residency requirement for PSC candidates, as applied to Durand: (1)




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violates Plaintiffs’ rights under the Equal Protection Clause of the

Fourteenth Amendment; and (2) violates Plaintiffs’ rights under the First

and Fourteenth Amendments. (Id., Compl., ¶¶ 49-50.) Before this Court

now is Plaintiffs’ Motion for a Temporary Restraining Order, through

which Plaintiffs ask this Court to prohibit the Secretary from

disqualifying Durand as a candidate for PSC District 2 based on the one-

year residency requirement. (Doc. 2.)

III. LEGAL STANDARD

     A temporary restraining order is a drastic remedy that should only

be granted in limited circumstances and upon a clear showing of

necessity. McDonald's Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir.

1998). The movant must show that (1) its claims have a substantial

likelihood of success on the merits; (2) it will suffer irreparable injury

absent injunctive relief; (3) the threatened injury to the movant

outweighs any potential harm that might result to the opposing party;

and (4) granting the injunction will not disserve the public interest.

America’s Health Ins. Plans v. Hudgens, 742 F.3d 1319, 1329 (11th Cir.

2014); Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225-26 (11th


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Cir. 2005); McDonald’s Corp., 147 F.3d at 1306.           The movant must

“clearly establish” all four elements. Cafe 207, Inc. v. St. Johns Cty., 989

F.2d 1136, 1137 (11th Cir. 1993). The likelihood of success on the merits

is generally considered the most important of the four factors. Johnson

& Johnson Vision Care, Inc. v. 1-800 Contacts, Inc., 299 F.3d 1242, 1247

(11th Cir. 2002). However, it is axiomatic that before this Court can even

consider granting an injunction of any sort, it must have jurisdiction to

do so.

IV. ANALYSIS AND CONCLUSIONS OF LAW

              This Court Lacks Article III Jurisdiction over
              Plaintiffs’ Claims because They Present a Non-
              Justiciable Political Question.

     Article III of the Constitution limits the subject-matter jurisdiction

of federal courts to “Cases” and “Controversies.” U.S. Const. art. III, § 2.

Federal courts have an independent obligation to ensure that subject-

matter jurisdiction exists before reaching the merits of a dispute.

Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1245 (11th Cir. 2020).

     This Court finds that Plaintiffs’ claims are a political question

outside this Court’s Article III jurisdiction and are foreclosed by the


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Supreme Court’s decision in Rucho v. Common Cause, 139 S. Ct. 2484

(2019)8, which held that partisan gerrymandering challenges “present

political questions beyond the reach of the federal courts.” Id. at 2506-

07. Plaintiffs’ central contention is that the Georgia General Assembly

engaged in impermissible partisan gerrymandering by intentionally

drawing PSC District 2 to exclude Durand as a candidate.

     The Defendant denies that the General Assembly’s redrawing of

PSC District 2 was because of partisan reasons, but rather, contends it

was simply to balance all of the PSC Districts based on the current

population numbers.     But, taking Plaintiffs’ allegations as true for



8 In Rucho, Chief Justice Roberts and a majority of the Justices of the
Supreme Court concluded that Federal Courts did not have jurisdiction
to consider constitutional claims that the North Carolina Legislators’
congressional redistricting was illegal. The contention was that the
redistricting was impermissible because, while more voters in North
Carolina had recently voted for Democratic candidates for Congress than
Republican candidates for Congress, the 2016 redistricting had left North
Carolina with 10 Republican and 3 Democratic Members of Congress. As
Justice Roberts noted, one of the Republican legislators chairing the
redistricting efforts said the maps were drawn that way to elect 10
Republicans and only 3 Democrats only because he did not believe it
“[would be] possible to draw a map with 11 Republicans and 2
Democrats.” Still, the Supreme Court found there was no role for the
Federal Courts to play in reviewing the matter.
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purposes of this motion, the Plaintiffs’ complaint of partisan

gerrymandering is a political question that this Court has no authority

to review. McMahon v. Presidential Airways, Inc., 502 F.3d 1331, 1357

(11th Cir. 2007) (“A federal court has no authority to review a political

question”). The political question doctrine “protects the separation of

powers    and      prevents   federal    courts   from   overstepping   their

constitutionally defined role.” Id. (citing Baker v. Carr, 369 U.S. 186, 210

(1962)). A case presents a non-justiciable political question if it would

require the Court to decide a question with one of the following

characteristics:

     [1] a textually demonstrable constitutional commitment of the
     issue to a coordinate political department; or [2] a lack of
     judicially discoverable and manageable standards for
     resolving it; or [3] the impossibility of deciding without an
     initial policy determination of a kind clearly for nonjudicial
     discretion; or [4] the impossibility of a court’s undertaking
     independent resolution without expressing lack of the respect
     due coordinate branches of government; or [5] an unusual
     need for unquestioning adherence to a political decision
     already made; or [6] the potentiality of embarrassment from
     multifarious pronouncements by various departments on one
     question.




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Baker, 369 U.S. at 217. “Significantly, any one of the above-listed

characteristics may be sufficient to preclude judicial review.” Made in the

USA Found. v. U.S., 242 F.3d 1300, 1312 (11th Cir. 2001).

     The Supreme Court in Rucho held that a partisan gerrymandering

challenge, such as the one raised by Plaintiffs here, is a political question

because it asks federal courts to weigh in on the allocation of political

power between the two major political parties “with no plausible grant of

authority in the Constitution, and no legal standards to limit and direct

their decisions.”   Rucho, 139 S. Ct. at 2507.         The Supreme Court

recognized   that   some    amount     of   partisan   gerrymandering      is

constitutional and inevitable, and to hold that legislators could never

consider partisan interests in districting “would essentially countermand

the Framers’ decision to entrust districting to political entities.” Id. at

2497.9


9 The Constitution clearly commits the “Times, Places and Manner of
holding Elections” to state legislatures. U.S. CONST. art. I, §4, cl. 1. And
federal courts have long recognized that the Constitution specifically
reserves authority regarding the integrity and efficiency of elections to
the states. Storer v. Brown, 415 U.S. 724, 730 (1974); Wexler v. Anderson,
452 F.3d 1226, 1232 (11th Cir. 2006). “[T]he framers of the Constitution
intended the States to keep for themselves, as provided by the Tenth
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      Rucho rejects the premise that the Constitution allows federal

courts to second-guess the allocation of political power by state

legislatures, saying that “federal courts are not equipped to apportion

political power as a matter of fairness, nor is there any basis for

concluding that they were authorized to do so.”               Id. at 2499.

Furthermore, even if courts could agree on a standard of “fairness,” they

would have to determine how much deviation from that standard in

pursuit of partisan interests was permissible. Id. at 2501. The Supreme

Court concluded, “[d]eciding among just these different visions of fairness

. . . poses basic questions that are political, not legal. There are no legal

standards discernible in the Constitution for making such judgments, let

alone limited and precise standards that are clear, manageable, and

politically neutral.” Id. at 2500.




Amendment, the power to regulate elections.” Gregory v. Ashcroft, 501
U.S. 452, 461–62 (1991) (quoting Sugarman v. Dougall, 413 U.S. 634, 647
(1973)); see also Coalition for Good Governance v. Raffensperger, 2020
U.S. Dist. LEXIS 86996, at *8, No. 1:20-cv-1677-TCB (N.D. Ga. May 14,
2020) (“The Framers of the Constitution did not envision a primary role
for the courts in managing elections, but instead reserved election
management to the legislatures.”).

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     Rucho’s reasoning that there are no judicially manageable

standards for reallocating political power to try to achieve “fairness” in

partisan representation, and that federal courts lack constitutional

authority to do so in the first place, applies here. Plaintiffs ask the Court

to enjoin the Secretary of State from disqualifying Durand as a candidate

for PSC District 2, even though it is undisputed that Durand has not met

the durational residency requirements for that office. O.C.G.A. § 46-2-

1(b). In this way, Plaintiffs ask the Court to set aside the expressed will

of the legislature in both the continuation of the durational residency

requirement, as well as its reapportionment of the PSC districts based

upon the alleged purely partisan reasons, which this Court has no

jurisdictional authority to do.    Were this Court to discard Georgia’s

durational residency requirement and enjoin the Secretary from

exercising his statutory authority to disqualify Durand based upon a

purely partisan complaint, it would not only undermine the Georgia

legislature’s role in enacting election laws, but also Georgia’s judicial




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enforcement of its own elections laws.10 Absent clear proof by Plaintiffs

that a political question is not at issue, “courts should not substitute their

own judgments for state election codes.”        Coalition, 2020 U.S. Dist.

LEXIS 86996 at *8.11



V.   CONCLUSION

     Accordingly, this Court DENIES Plaintiffs’ Motion for Temporary

Restraining Order (Doc. 2).12

     So ORDERED this 11th day of May, 2022.




10  The Plaintiffs’ constitutional concerns may be raised in judicial
proceedings in the Georgia Courts on appeal from any decision made by
Defendant Raffensperger regarding Durand’s candidacy. And, the
individual Plaintiffs will still have a Democratic candidate which they
can support, if they so choose.

11 The Defendant argues that the Court should also not exercise
jurisdiction under the Younger Abstention Doctrine, and even if it did,
that laches bars the Plaintiffs’ claim and/or that the Plaintiffs’ claims fail
on the merits. The Court declines to address these issues, as such is
unnecessary given that it does not have jurisdiction.

12The Court’s Order herein does not represent a final ruling, but rather,
the Court will consider such a ruling upon the filing by the Defendant of
a Motion to Dismiss.
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